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UNITED STATES OF AMERICA

              IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF MONTANA
                      GREAT FALLS DIVISION

 UNITED STATES OF AMERICA,              CR 24-06-GF-BMM

           Plaintiff,                   INFORMATION

     vs.                                CONSPIRACY
                                        Title 18 U.S.C. § 371 (Count 1)
 ARTHUR "JACK" SCHUBARTH,               (Penalty: Five years of imprisonment, a
                                        $250,000 fine or twice the gross gain or
           Defendant.                   loss, and three years of supervised
                                        release)
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